  Case 17-30216      Doc 30    Filed 09/06/19 Entered 09/08/19 12:17:01                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      17-30216
Jon D Rosenberg                              )
                                             )               Chapter: 13
                                             )
                                                             Honorable Janet S. Baer
                                             )
                                             )               Kane
               Debtor(s)                     )

           ORDER GRANTING MOTION TO AUTHORIZE LOAN REFINANCING

        This matter coming on the Debtor's MOTION TO AUTHORIZE LOAN REFINANCING, due
notice having been given, and the Court being fully advised in the premises,

  IT IS HEREBY ORDERED THAT:

 1) The Debtor is authorized to refinance the mortgage loan securing his real property located at 17
Weston Court, South Elgin,IL 60177 according to the following terms:

    Loan amount not to exceed: $137,362
    Loan term: 30 years
    Loan rate: 5.5%
    Monthly Lpoan payment: $1,228.00

   2) The Debtor will tender the bankruptcy payoff pursuant to a proper payoff letter from the proceeds
of the refinancing to the chapter 13 trustee.

  3) The Debtor will provide the chapter 13 trustee with a complete copy of the closing statement
within 10 days of the closing.

                                                         Enter:


                                                                  Honorable Janet S. Baer
Dated: September 06, 2019                                         United States Bankruptcy Judge

 Prepared by:
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